     Case 1:19-cr-00064-RJD Document 1-1 Filed 02/05/19 Page 1 of 1 PageID #: 2

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                                  INFORMATION SHEET                            U.S. DISTRICT COURT E.D.N.Y.
                                                                                       ITRICTGOURTI


                            UNITED STATES DISTRICT COURT
                                                                              * FEB 05 2019 *
                           EASTERN DISTRICT OF NEW YORK
                                                                               BROOKLYN OFFICE


1.      Title of Case: United States v. John Doe
                                                                                        4
2.      Related Magistrate Docket Nuniber(s):

3.      Arrest Date: Not yet arrested

4.      Nature of offense(s): S Felony
                                                       GOLD, MJ.
                               □     Misdemeanor


        Related Cases - Title and Docket No(s). (Pursuant to Rule 50.3.2 of the Local
        E.D.N.Y. Division of Business Rules): N/A                fr

6.      Projected Length of Trial:   Less than 6 weeks      13
                                     More than 6 weeks     □


7.      County in which crime was allegedly committed: Kings County.
        (Pursuant to Rule 50.1(d) of the Local E.D.N.Y. Division of Business Rules)

8.      Was any aspect of the investigation, inquiry and prqjiqcqtion giving rise to the case
        pending or initiated before March 10, 2012.^               DYes 13 No

9.      Has this indictment/information been ordered sealed?       DYes         No


10.     Have arrest warrants been ordered?                         □Yes 3 No


11.     Is there a capital count included in the indictment?       DYes 3 No

                                                    RICHARD MONOGHUE
                                                                   Attorney

                                             By:
                                                       litman G.S. Knapp
                                                    Mark E. Bini
                                                    Assistant U.S. Attorneys
                                                    718-254-8761




        Judge Brodie will not accept cases that were initiated before March 10, 2012.



Rev. 10/04/12
